Case 1:22-cr-00525-NRM-CLP Document 18-3 Filed 09/11/23 Page 1 of 9 PageID #: 268
                                                                                                              EXHIBIT B




  CERTIFICATE OF ACCURACY




  The undersigned, CLARA ANGELICA PORTO CASKEY, hereby states, to the best of my knowledge and belief, under penalty
  of perjury under the laws of the United States, that I am fully competent in the Spanish and English languages, and that the
  attached document is an accurate translation of the original Spanish language document into the English language.

  Dated: April 27, 2023


  CLARA ANGELICA PORTO CASKEY, Translator
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  [emblem]
  Judicial Power of the Nation

  FP                                         NOTIFICATION CERTIFICATE
                                                 23000065218587
                                                    [barcode]

  COURT: FEDERAL COURT OF CORDOBA 1, LOCATED IN AV. CONCEPCION ARENAL Y W. PAUNERO 690 – CORDOBA –
  PISO 3/4/1/S (ELECT SECTION)

          DATE OF RECEIPT IN NOTIFICATIONS:

  Mr.:             SANTIAGO SALVA, DR. MAXIMILIANO HAIRABEDIAN
  Address:         20233279650
  Type of Address: Electronic
  Feature:         No signature
  Special Note:    No signature

                37089/2022                                          CRIMINAL    S        N       N
   ORDER No.    FILE No.     SECTION     JURISDICTION   COURT       SECRETARY   COPIES   STAFF   NOTES

  I notify you of the resolution promulgated in the case proceedings:

  REQUESTED: NAPOLSKIY, ANTON AND OTHER s/EXTRADITION

  As per copy attached.

  YOU ARE DULY NOTIFIED

  Cordoba, April 2023.
Case 1:22-cr-00525-NRM-CLP Document 18-3 Filed 09/11/23 Page 3 of 9 PageID #: 270




  [emblem]
  Judicial Power of the Nation

  Signed by: FACUNDO TRONCOSO, SECRETARY


  On __________________________________2023, at _________________
  I represented myself at the address located in _______________________________________________________
  _____________________________________________________________________________________________
  and requested the presence of ___________________________________________________________________
  and because he was not there ____________________________________________________________________
  I was assisted by: ______________________________________________________________________________
  _____________________________________________________________________________________________
  D.N.I; L.E; L.C.; No.______________________________________________________________________________
  And when no one answered to my calls, I requested the presence of a witness who claims to be:
  _____________________________________________________________________________________________
  _____________________________________________________________________________________________
  Immediately afterwards, and why I was there, I delivered the ___________________________________________
  and proceeded to leave at the entrance of the house a copy of this
  SIGNED BEFORE ME FOR THE RECORD.-
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                                                    [emblem]
                                          Judicial Power of the Nation

                                    FEDERAL COURT OF CORDOBA 1 (SRA)

  Cordoba,

          Taking into account that in the oral hearing as provided for in art. 30 of law 24767, the defense of
  the requested parties Ermakova and Napolskiy claimed that in the request for extradition sent by the
  requesting State (United States of America), one of the formal requirements was missing, as provided for
  art. 13. Item of the law of International Cooperation in Criminal Matter (24767), to make it valid, i.e. the
  victims’ identification, moreover there was no clear description of the criminal act except for a very
  general one, it deems necessary to suspend this case and grant to the requesting State a term of thirty
  (30) days to correct the shortcoming mentioned by the defense and to be more accurate regarding the
  circumstances of time, mode and place of the criminal acts mentioned in the request of extradition.
           Likewise, with regard to the request for identification of the victims, although the Bilateral Treaty
  of Extradition between Argentina and the United States (Law 25126), when it lists the formal requirements
  that must be in the request (art. 8), does not mention the identification of the victims, I understand that
  when the act allows it, as a way to guarantee the due procedure and the right of the defense in court,
  corresponding to the identification of the supposed victims, may they be physical or legal persons.
              This is why, as provided for in art. 31 of law 24767, whose purpose is the cooperation between
  States for the repression of international crime with the principle of reciprocity in this matter, in order to
  proceed with the decision of a sentence, we request that the requesting State through the corresponding
  diplomatic channel, corrects the request for extradition while requesting more precision in the description
  of the actions with circumstances of time, mode and place, as well as it shall




                                                                           [barcode]
                                                             #37174154#364947995#20230414120915708
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                                                        [emblem]
                                              Judicial Power of the Nation

                                         FEDERAL COURT OF CORDOBA 1 (SRA)



  Identify where the actions so allow, the supposed victims (art. 8 law 25126; art. 13 lay 24767; art 18 C.N.).
           To which end, the Ministry of Foreign Affairs, International Trade and Worship shall be officiated.
           Be notified.


                                                                SERGIO A. PINTO
                                                            FEDERAL SURROGATE JUDGE


                                                 FACUNDO TRONCOSO
                                                     SECRETARY




                                                                              [barcode]
                                                                 #37174154#364947995#20230414120915708
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                                     Poder Judicial de la Nación




       FP
                                                                CÉDULA DE
                                                               NOTIFICACIÓN
                                                                  23000065218587

                                                        23000065218587
       TRIBUNAL: JUZGADO FEDERAL DE CORDOBA 1, SITO EN AV
       CONCEPCIÓN ARENAL Y W. PAUNERO 690 - CÓRDOBA - PISO
       3°/4°/1°/2° (SEC ELECT)

              FECHA DE RECEPCIÓN EN NOTIFICACIONES:

       Sr.:                               SANTIAGO       SALVÁ,          DR.      MAXIMILIANO
                                          HAIRABEDIAN
       Domicilio:                         20233279650
       Tipo de Domicilio:                 Electrónico
       Carácter:                          Sin Asignación
       Observaciones Especiales:          Sin Asignación

                     37089/2022                                 PENAL      S          N        N
        N° ORDEN     EXPTE. N°     ZONA     FUERO    JUZGADO   SECRET.   COPIAS   PERSONAL   OBSERV.




       Notifico a Ud. la resolución dictada en los autos:

       REQUERIDO: NAPOLSKIY, ANTON Y OTRO s/EXTRADICION


       Según copia que se acompaña.

       QUEDA UD DEBIDAMENTE NOTIFICADO

       Córdoba,       de abril de 2023.
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                                    Poder Judicial de la Nación




        Fdo.: FACUNDO TRONCOSO, SECRETARIO




  En ………………..de……………………de 2023, siendo horas ……………….
  Me constituí en el domicilio sito en……………………………………………… ……………….
  …………………………………………………………………………………………. ………………
  Y requerí la presencia de……………………………………………………………. ………………
  y no encontrándose …………………………….
  fui atendido por: ……………………………………………………………………………………….
  …………………………………………………………………………………………………………….
  D.N.I; L.E; L.C; Nº……………………………………………………………………………………..
  Ni respondiendo persona alguna a mis llamados, requerí la presencia de un testigo quien manifiesta ser:
  ………………………………………………………………………………………….
  …………………………………………………………………………………………………………….
  Acto seguido , e impuesto del motivo de mi presencia , le hice entrega de …………………….
  procedí a fijar en el acceso de la vivienda una copia de la presente
  FIRMADO ANTE MI PARA CONSTANCIA.-
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                                    Poder Judicial de la Nación
                   JUZGADO FEDERAL DE CORDOBA 1 (SRA)



            Córdoba,
               Teniendo en cuenta que, en la audiencia oral prevista por el art. 30 de
      la ley 24.767, la defensa de los requeridos Ermakova y Napolskiy en su
      alegato manifestó, que a la solicitud de extradición enviada por el Estado
      requirente (Estados Unidos de Norteamérica), le faltaba uno de los requisitos
      formales prescriptos en el art. 13 inc. a de la ley de Cooperación
      Internacional en Materia Penal (24.767) para que sea válido esto es, la
      identificación de las víctimas, además de que no veía una descripción clara
      del hecho delictivo sino mas bien genérica, resulta necesario, suspender el
      presente proceso y otorgar al Estado requirente, un plazo de treinta (30) días
      para que subsane la falencia mencionada por la defensa y otorgue mayor
      precisión en cuanto a circunstancias de tiempo, modo y lugar de los hechos
      delictivos mencionados en la solicitud de extradición.
               Así mismo, en lo que respecta al pedido de identificación de las
      víctimas, si bien el Tratado Bilateral de Extradición entre Argentina y
      Estados Unidos (Ley 25.126), cuando enumera los requisitos formales que
      debe contener la solicitud (art. 8), no hace referencia a la identificación de
      las víctimas,    entiendo que cuando el hecho lo permite, como forma de
      garantizar el debido proceso y el derecho de defensa en juicio, corresponde
      que se identifiquen las supuestas víctimas, pudiendo tratarse en el caso que
      nos ocupa de personas física o jurídicas.
               Por ello es que, en virtud de la facultad prevista por el art. 31 de la
      ley 24.767, cuya finalidad es la cooperación entre Estados en la represión del
      crimen internacional y rigiendo el principio de reciprocidad en esta materia,
      previo proceder al dictado de una sentencia, solicítese al Estado requirente,
      por la    vía   diplomática     correspondiente, que     subsane      la   solicitud de
      extradición en cuanto se requiere una mayor precisión en la descripción de
      los hechos con circunstancias de tiempo, modo y lugar, como también deberá




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                           Poder Judicial de la Nación
             JUZGADO FEDERAL DE CORDOBA 1 (SRA)



 identificar, en aquellos hechos que lo permitan, a las supuestas víctimas (art.
 8 ley 25.126; art. 13 ley 24.767; art. 18 C.N.).
        A cuyo fin, ofíciese al Ministerio de Relaciones Exteriores, Comercio
 Internacional y Culto.
        Notifíquese.


                                                            S ER GI O A. PI NTO
                                                       JUEZ FEDER A L SUBR OGA NTE




                                  FA C UNDO TR ONC OS O
                                      S ECR ETA RI O




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